

Matter of Paltoo v Biben (2023 NY Slip Op 02185)





Matter of Paltoo v Biben


2023 NY Slip Op 02185


Decided on April 27, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 27, 2023

Before: Renwick, A.P.J., González, Kennedy, Higgitt, JJ. 


 Appeal No. 127 Case No. 2023-01112 

[*1]In the Matter of Rajendra Paltoo, Petitioner, 
vHon. Ellen Biben etc., Respondent.


Rajendra Paltoo, petitioner pro se.
Letitia James, Attorney General, New York (Melissa Ysaguirre of counsel), for respondent.



The above-named petitioner having presented an application to this Court praying for an order, pursuant to article 78 of the Civil Practice Law and Rules,
Now, upon reading and filing the papers in said proceeding, and due deliberation having been had thereon,
It is unanimously ordered that the application be and the same hereby is denied and the petition dismissed, without costs or disbursements.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 27, 2023








